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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE:                              :
                                    :
THE INGROS FAMILY LLC,              :                 Bankruptcy No. 20-22606-CMB
                                    :
                    Debtor.         :                 Chapter 11
___________________________________ :
                                    :
                                    :
ENTERPRISE BANK,                    :
                                    :
                    Plaintiff,      :
            v.                      :                 Adversary No. 20-2165-CMB
                                    :
THE INGROS FAMILY LLC a/k/a         :
INGROS FAMILY LLC and               :
RYAN SHARBONNO,                     :                 Related to Doc. No. 1
                                    :
                     Defendants.    :
___________________________________ :

                                             ORDER

       AND NOW, this 3rd day of December, 2020, following the status conference held
December 2, 2020, on the Notice of Removal (Doc. No. 1) filed by the Debtor and based upon the
parties’ representations at that time and a review of the docket, this Court finds as follows:
   1. Enterprise Bank commenced this action in the Court of Common Pleas of Beaver County
       seeking a determination that Enterprise Bank has a valid, first priority lien on property
       located at 295 Third Street, Beaver, PA.
   2. Due to the bankruptcy filing, Debtor did not file a responsive pleading while the action was
       pending in state court. By Consent Order dated December 2, 2020 (Doc. No. 8) entered in
       this adversary proceeding, Debtor is required to file a responsive pleading within 14 days.
   3. Defendant Ryan Sharbonno (“Sharbonno”) filed Preliminary Objections in the state court
       action requesting dismissal of the claims against him for failure to state a claim upon which
       relief can be granted.
   4. Enterprise Bank filed a response to the Preliminary Objections.
   5. No briefs have been filed by the parties.
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   Based on the foregoing, it is hereby ORDERED, ADJUDGED, and DECREED that:
   1. Any response by the Debtor to the Preliminary Objections shall be filed on or before
      January 5, 2021.
   2. Sharbonno shall file a brief in support of his Preliminary Objections on or before January
      20, 2021.
   3. Response briefs shall be filed on or before February 11, 2021.
   4. Unless permission is granted upon motion prior to filing, no brief by any party shall be in
      excess of twenty pages.
   5. On or before February 18, 2021, counsel shall meet and confer for a minimum of two
      hours. Parties with authority to settle shall participate. At that time, the parties shall attempt
      to resolve all matters in dispute, including but not limited to the Preliminary Objections.
   6. On or before February 19, 2021, Attorney Reilly shall file a joint status report, after
      consulting with opposing counsel, advising if any issue(s) have been resolved and/or
      narrowed, whether the parties seek additional time to negotiate, and any other items
      relevant to the upcoming oral argument.
   7. Oral argument shall be held on March 8, 2021, at 1:30 P.M. via the Zoom Video
      Conference Application (“Zoom”). To join the Zoom hearing, please initiate by using the
      following     link    15     minutes     prior    to    your     scheduled      hearing     time:
      https://www.zoomgov.com/j/16143800191, or alternatively, attend by using the following
      Meeting ID: 161 4380 0191.




                                                       __________________________
          FILED                                        Carlota M. Böhm
          12/3/20 2:51 pm                              Chief United States Bankruptcy Judge
          CLERK
          U.S. BANKRUPTCY
          COURT - WDPA




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